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                         EXHIBIT 2
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          Case 4:23-cv-00758-P-BJ Document 41 Filed 09/01/23   Page 12 of 70 PageID 530




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                         STATE BAR OF TEXAS
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          Office of the Chief Disciplinary Counsel

          May 17, 2023

          Sent Via Email: Arnold200@gmail.com

          Conghua Yan
          2140 E Southlake Blvd Suite L-439
          Southlake, Texas 76092

          Re: 202206760 - Conghua Yan - Leslie Starr Barrows

          Dear Conghua Yan:

          You are hereby notified that the referenced Complaint has been placed on a Summary
          Disposition Panel docket.

          The Summary Disposition Panel is an independent panel of grievance committee members
          comprised of both volunteer lawyers and public members. The Panel will review all information,
14 / 70   documents and evidence submitted during the investigation and determine whether the
          Complaint should be dismissed or should proceed. The Rules of Disciplinary Procedure provide
          that, at the summary disposition proceeding, the Chief Disciplinary Counsel will present the
          Complaint without the presence of the Complainant or the Respondent. You will be notified of
          the results by letter.

          Sincerely,



          Rachel Craig
          Assistant Disciplinary Counsel

          RAC/krp




                 The Princeton Building, 14651 Dallas Parkway, Suite 925, Dallas, Texas 75254
                                    (972) 383-2900, (972) 383-2935 (FAX)
                         STATE BAR OF TEXAS
          Case 4:23-cv-00758-P-BJ Document 41 Filed 09/01/23              Page 15 of 70 PageID 533




          Office of the Chief Disciplinary Counsel

          May 18, 2023

          Sent Via Email: Arnold200@gmail.com

          Conghua Yan
          2140 E Southlake Blvd Suite L-439
          Southlake, Texas 76092

          Re: 202300469 - Conghua Yan - William Albert Pigg

          Dear Conghua Yan:

          You are hereby notified that the referenced Complaint has been placed on a Summary
          Disposition Panel docket.

          The Summary Disposition Panel is an independent panel of grievance committee members
          comprised of both volunteer lawyers and public members. The Panel will review all information,
15 / 70   documents and evidence submitted during the investigation and determine whether the
          Complaint should be dismissed or should proceed. The Rules of Disciplinary Procedure provide
          that, at the summary disposition proceeding, the Chief Disciplinary Counsel will present the
          Complaint without the presence of the Complainant or the Respondent. You will be notified of
          the results by letter.

          Sincerely,



          Rachel Craig
          Assistant Disciplinary Counsel

          RAC/krp




                 The Princeton Building, 14651 Dallas Parkway, Suite 925, Dallas, Texas 75254
                                    (972) 383-2900, (972) 383-2935 (FAX)
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                         STATE BAR OF TEXAS
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          Office of the Chief Disciplinary Counsel

          October 25, 2022

          Conghua Yan
          219 East Southlake Boulevard Suite L-439
          Southlake, TX 76092

          Re: 202206760 - Conghua Yan -Leslie Starr Barrows

          Dear Conghua Yan:

          The Office of the Chief Disciplinary Counsel of the State Bar of Texas has received your
          grievance against the above named lawyer.

          Lawyers licensed in Texas are governed by the Texas Disciplinary Rules of Professional
          Conduct, and may only be disciplined when their conduct is in violation of one or more of the
          disciplinary rules. When a grievance is received, this office conducts an initial review to
          determine whether the alleged conduct would be a violation of the ethics rules. If the conduct
18 / 70   does not allege a violation, the grievance is classified as an Inquiry and dismissed with a right to
          appeal the dismissal. If the conduct alleges a violation, the grievance is classified as a Complaint
          and investigated. We have concluded that the conduct you described is not a violation of the
          disciplinary rules. Thus, your grievance has been classified as an Inquiry and dismissed.

          If you would like further review of your grievance, you may choose one of the following two
          options:

                  1. Amend your grievance and re-file it with additional information that will assist us in
                     determining whether the lawyer violated the disciplinary rules. (Examples of
                     additional information that may be helpful include: correspondence/emails between
                     you and your lawyer, fee agreement/contract with your lawyer, the approximate date
                     your lawyer’s conduct occurred, etc.) It is not necessary to list the disciplinary rules
                     you believe were violated. You have twenty (20) days from your receipt of this letter
                     to re-file your amended grievance.
                                                            OR
                  2. Appeal this decision to dismiss your grievance to the Board of Disciplinary Appeals.
                     You must submit your appeal directly to the Board of Disciplinary Appeals by using
                     the enclosed form. You have thirty (30) days from your receipt of this letter to
                     appeal this decision.




            P. O. Box 12487, Austin, TX 78711, (512) 427-1350, (877) 953-5535, fax: (512) 427-4167
          Case 4:23-cv-00758-P-BJ Document 41 Filed 09/01/23              Page 19 of 70 PageID 537

          Please know that the Office of the Chief Disciplinary Counsel maintains confidentiality in the
          grievance process as directed by the Texas Rules of Disciplinary Procedure. If you have any
          questions about the dismissal of your grievance, I can be reached at (877) 953-5535. Also,
          Please scan the QR code below or go to https://cdc.texasbar.com/survey to complete our
          Disciplinary System Questionnaire, which gives us valuable feedback from those involved in the
          process. We would appreciate you taking a moment to complete it.




          Sincerely,




          Luis J. Marín


          LJM/tf

          Enclosures:     BODA Appeal Form

19 / 70
          Cc:             Ms. Leslie Starr Barrows
                          STATE BAR OF TEXAS
          Case 4:23-cv-00758-P-BJ Document 41 Filed 09/01/23                      Page 20 of 70 PageID 538




          Office of the Chief Disciplinary Counsel

          July 13, 2023

          Sent Via Email: Arnold200@gmail.com

          Conghua Yan
          2140 E Southlake Blvd, Suite L-439
          Southlake, Texas 76092

          Re: 202300469 - Conghua Yan - William Albert Pigg

          Dear Conghua Yan:

          Upon completion of its investigation of your grievance, the Chief Disciplinary Counsel has determined
          that there is no just cause to believe that the above named lawyer has committed professional misconduct.


          In accordance with the Texas Rules of Disciplinary Procedure, following this determination by the Chief
          Disciplinary Counsel your complaint was presented to a Summary Disposition Panel of the District 7
          Grievance Committee. The Panel which is comprised of volunteer lawyers and public members has the
20 / 70
          option to dismiss the complaint or vote to proceed should they believe the case should go forward. This is
          solely their decision to make on any complaint presented to them. The Panel has voted to dismiss the
          complaint after reviewing all the evidence submitted and obtained during the investigation. Please know
          that the Office of the Chief Disciplinary Counsel maintains confidentiality in the grievance process as
          directed by the Texas Rules of Disciplinary Procedure.

          Although there is no appeal of the Panel’s decision to dismiss your grievance, the State Bar of Texas
          maintains the Client-Attorney Assistance Program (CAAP), which you may have contacted prior to filing
          your grievance. Please be advised that even after a grievance has been dismissed, CAAP can still attempt
          to assist you through alternative dispute resolution procedures unless the attorney at issue is deceased,
          disbarred, suspended or not your lawyer. CAAP is not a continuation of the attorney disciplinary
          process, and participation by both you and your attorney is voluntary. Should you wish to pursue
          that option, CAAP may be reached at 1-800-932-1900.

          Sincerely,



          Kristin Virginia Brady
          Assistant Disciplinary Counsel

          KVB/krp




                 The Princeton Building, 14651 Dallas Parkway, Suite 925, Dallas, Texas 75254
                                    (972) 383-2900, (972) 383-2935 (FAX)
                          STATE BAR OF TEXAS
          Case 4:23-cv-00758-P-BJ Document 41 Filed 09/01/23                      Page 21 of 70 PageID 539




          Office of the Chief Disciplinary Counsel

          July 13, 2023

          Sent Via Email: Arnold200@gmail.com

          Conghua Yan
          2140 E Southlake Blvd, Suite L-439
          Southlake, Texas 76092

          Re: 202206760 - Conghua Yan - Leslie Starr Barrows

          Dear Conghua Yan:

          Upon completion of its investigation of your grievance, the Chief Disciplinary Counsel has determined
          that there is no just cause to believe that the above named lawyer has committed professional misconduct.

          In accordance with the Texas Rules of Disciplinary Procedure, following this determination by the Chief
          Disciplinary Counsel your complaint was presented to a Summary Disposition Panel of the District 7
          Grievance Committee. The Panel which is comprised of volunteer lawyers and public members has the
          option to dismiss the complaint or vote to proceed should they believe the case should go forward. This is
21 / 70
          solely their decision to make on any complaint presented to them. The Panel has voted to dismiss the
          complaint after reviewing all the evidence submitted and obtained during the investigation. Please know
          that the Office of the Chief Disciplinary Counsel maintains confidentiality in the grievance process as
          directed by the Texas Rules of Disciplinary Procedure.

          Although there is no appeal of the Panel’s decision to dismiss your grievance, the State Bar of Texas
          maintains the Client-Attorney Assistance Program (CAAP), which you may have contacted prior to filing
          your grievance. Please be advised that even after a grievance has been dismissed, CAAP can still attempt
          to assist you through alternative dispute resolution procedures unless the attorney at issue is deceased,
          disbarred, suspended or not your lawyer. CAAP is not a continuation of the attorney disciplinary
          process, and participation by both you and your attorney is voluntary. Should you wish to pursue
          that option, CAAP may be reached at 1-800-932-1900.

          Sincerely,



          Kristin Virginia Brady
          Assistant Disciplinary Counsel

          KVB/krp




                 The Princeton Building, 14651 Dallas Parkway, Suite 925, Dallas, Texas 75254
                                    (972) 383-2900, (972) 383-2935 (FAX)
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                         EXHIBIT 3
22 / 70
Case 4:23-cv-00758-P-BJ Document 41 Filed 09/01/23
                                                325-707596-21
                                                                      .
                                                                      Page 23 of 70 PageID 541
                                                                                                     FILED
                                                                                        TARRANT COUNTY
                                                                                          313/2022 3:14 PM
                                                                                       THOMAS A. WR.DER
                                       CAUSE NO. 325-707596-21

 IN THE MATTER OF                                             §      TN THE DISTRICT COURT
 THE MARRIAGE OF                                              §
                                                              §
 CONGHUAYAN                                                   §      325th JUDICIAL DISTRICT
 AND                                                          §
 FUVAN WANG                                                   §
                                                              §
 AND IN THE INTEREST OF                                       §
 SHIMING VAN, A CHILD                                         §     TARRANT COUNTY, TEXAS

               Motion for Interim Attorney’s Fees, Costs, and Expenses

        This Motion for Interim Attorney’s Fees, Costs, and Expenses is brought by FUYAN

WANG, Respondent.

        Respondent would show this Court that she is not in control of sufficient assets to pay

attorney’s fees and anticipated costs and expenses in this mailer. As of March 3, 2022, Petitioner

has incurred S19,I35.00 in attorney’s fees and costs and expenses. Respondent lacks sufficient

community property or separate property to pay her attorney’s fees, costs, and expenses.

Respondent requests that this Court order Petitioner, CONGHUA VAN, to pay Petitioner’s

interim attorney’s fees, costs, and expenses by a certain date.

        FUYAN WANG prays that this Court order the payment of her interim attorney’s fees,

costs, and expenses as requested above.




Motion for Interim Attorney’s Fees, Costs, and Expenses                                 Page 1 of 2
Wang; Cause No. 325-707596-21
                                                          23 / 70
Case 4:23-cv-00758-P-BJ Document 41 Filed 09/01/23                              .Page 24 of 70 PageID 542



                                                                   Respectfully submitted,

                                                                   THE BARROWS FIRM, P.C.
                                                                   520 E. Southiake Blvd., Suite 140
                                                                   Southlake, Texas 76092
                                                                   Phone: 817-481-1583
                                                                   Fax: 817-912-1380


                                                                              3-t-t 3a,itewt
                                                                   Leslie Starr Barrows
                                                                   State Bar No. 24048343
                                                                   Email: lbanows(ibarowsflrm.com
                                                                   Danielle DeFranco
                                                                   State BarNo. 24127415
                                                                   Email: danielle(Wbarrowsflrm.com
                                                                   Edn B. Healey
                                                                   State Bar No. 24041073
                                                                   Email: cdn(thbarowsfirm.com
                                                                   Samantha Ybarm
                                                                   State Bar No. 24104627
                                                                   Email: samantha(1ibarrowsfirm.com
                                                                   Attorney for Respondent


                                        Certificate of Conference

       A conference was attempted to be held on March 3, 2022 with opposing counsel on the
merits of this motion. Attorney for Respondent left a message for Petitioner’s attorney. A
reasonable effort has been made to resolve the dispute without the necessity of court intervention
and the effort failed. Therefore it is presented to the Court for determination.


                                                   Leslie Starr Barrows
                                                   Attorney for Respondent


                                          Certificate of Service

       I certify that a true copy of the above was served on each attorney of record or party in
accordance with the Texas Rules of Civil Procedure on March 3, 2022.


                                                    Za& S&1A ‘aaowC
                                                   Leslie Starr Barows
                                                   Attorney for Respondent


Motion for Interim Attomcy’s Fees, Costs, and Expenses                                                 Page 2 of 2
Wang; Cause No. 325-707596-2!
                                                         24 / 70
   Case 4:23-cv-00758-P-BJ Document 41 Filed 09/01/23                    Page 25 of 70 PageID 543
                         Automated Certificate of eService
This automated certificate of service was created by the efihing system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.
Tisha Dixon on behalf of Leslie Barrows
Bar No. 24048343
tisha@barrowsfirm.com
Envelope ID: 62278391
Status as of 3/3/2022 3:31 PM CST

Associated Case Party: CONGHUAYAN

Name           BarNumber    Email                     TimestampSubmitted     Status

William Pigg   24057009     wapiggpigglawflrm.com      313/2022 3:14:07 PM   SENT



Associated Case Party: FUYANWANG

Name                   BarNumber    Email                       TimestampSubmifted    Status

Leslie Starrflarrows                lbarrows@barrowsfirm.com    3/3/2022 3:14:07 PM   SENT

Tisha Dixon                         tisha@barrowsflrm.com       3/3/2022 3:14:07 PM   SENT

Samantha Ybarra                     samantha@barrowsflrm.com    3/3/2022 3:14:07 PM   SENT

Bert Pigg                           WAPIGGpigglawflrm.com       3/3/2022 3:14:07 PM   SENT

Daisy Morado                        Daisy@baaowsflrm.com        3/3/2022 3:14:07 PM   SENT
                                                     25 / 70
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                         EXHIBIT 4
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                         EXHIBIT 5
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                             .
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                                      CAUSE NO. 325-707596-21

 IN THE MATTER OF                                      §             IN THE DISTRICT COURT
 THE MARRIAGE OF                                       §
                                                       §
 CONGHUA VAN                                           §
 AND                                                   §            325” JUDICIAL I)ISTRICT
 FUYAN WANG,                                           §
                                                       §
 AND iN THE INTEREST OF                                §
 SHIMING VAN, A CHILD                                  §          TARRANT COUNTY, TEXAS



                   AFFIDAVIT OF LESLIE HARROWS’ ATTORNEYS FEES



      BEFORE ME, the undersigned authority, on this day personally appeared Leslie Barrows,
who swore under oath that the following facts are true:

        ‘My name is Leslie Barrows. I am more than eighteen years of age, of sound mind, and
Fully competent to make this affidavit. I am the attorney of record for Fuyan Wang in the above-
styled and numbered cause, and in that capacity, I have personal knowledge of the matters set
forth below.

       “1 am a graduate of University of Oklahoma College of Law and received a Juris
Doctorate decree. I have been licensed to practice law in the state of’l’exas since December 2000.
I am admitted to practice bel’ore this Court.

        “Presently. I am employed by the Barows Firn, PC. a law firm having its principal place
of business in Southlake, Texas.

        To the extent that I have specialized legal knowledge, it is in the areas of Texas Family
Law. I am familiar with the types of fees usually and customarily charged in eases of this type in
 larrant County, Texas. It is my testimony that an hourly rule of $400.00 per hour is a reasonable
and necessary’ rate in [arrant County. Texas. for an attorney with my experience and expertise.
Additionally, it is my testimony that the following hourly rates are reasonable for all support staff
in my firm:
        Leslie Barrows, Lead Attorney                $400.00/hour
        Associate Attorneys/Of (‘ounsel              $225.00- $275.00/hour
        Legal Assistants/Paralegals                  $125.00 $1 75.00/hour
                                                              -




        Law Point referral benelits program discounted rates as follow:


Attorney’s Aitidavh n Support olAttorney Fees                                             Page I ofJ
                                                 29 / 70




Wang: Cause No. 325-707594-2!
Case 4:23-cv-00758-P-BJ Document 41 Filed 09/01/23                         .
                                                                           Page 30 of 70 PageID 548


          Law Point referral benefits program discounted rates as follow:

          Leslie Barrows, Lead Attorney                      $300.00/hour
          Associate Attorneys/Of Counsel                     $168.75 $206.25/hour
                                                                       -




          Legal Assistants/Paralegals                        $93.75 S13 1.25/hour
                                                                   -




        “This case is pending a hearing for temporary orders and investigation of the case remains
 on-going. The exact amount of legal services are unknown and still accruing at the time this
 Affidavit was filed.” The Barrows Firm, P.C. and Attorney Leslie Barrows reserves the right to
 supplement this Affidavit as this case continues.

         Attached as Exhibit A is a summary of current and anticipated time and expenses for
 enforcement only and attached as Exhibit B are the detailed invoices in this case that are
 currently available. It is taken from the original records of The Barrows Firm; P.C. and it is a
 summary of records kept in the usual course of business. The records are timely entered at or
 near the time of the events they describe by a person with knowledge of those events.
 Specifically, they are records of my time, my paralegal’s time or other office staff in this case, and
 my firm’s time which make up the entries. It is a part of the regular course of business of The
 Barrows Firm, P.C. to make and keep such records.

       I have reviewed the summary of the time and invoices in this case, and I find that all the
work performed in this case has been reasonable and necessary. My fees, my paralegal’s fees or
other office staff in this case, and my firm’s fees in the case are reasonable and necessary if
considered in light of the following factors:

        “I.     The time and labor required, the novelty and difficulty of the questions involved,
and the skill requisite to perform legal services properly.

        ‘2.     The fees customarily charged in this locality for similar legal services: The fees
charged by me are usual and customary in Tarrant County, Texas, for a case of this type involving
the issues before the Court. A reasonable hourly rate in this matter for a senior lead attorney
would be between $350.00 to $400.00 per hour and a reasonable hourly rate in this matter for an
associate attorney would be between $225.00 and $275.00 per hour, depending on the
qualifications, education and experience of the attorney and the work performed by the attorney.

        “3.    A reasonable hourly rate in this matter for similar legal services performed by
paralegals or other office staff in this ease under attorney supervision, would be between $125.00
and S 175.00, depending on the qualifications, education, and experience of the paralegal or other
office staff.

      “4.         The nature and length of my firm’s professional relationship with our client Fuyan
Wang; and

         “5.     Any and all experience, reputation, or ability that we have.


                                   (SIGNATURES ON FOLLOWING PAGE)


Attorney’s Affidavit in Support of Attorney Fees
                                                   30 / 70




                                                                                           Page 2 of 3
Wang; CazLce No. 325-707596-2/
                               .
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                                                                         Page 31 of 70 PageID 549



          ‘The foregoing matters are, within my personal knowledge, true an,1d correct.’

                                                                         7 J\
                                                 Leslie Barows, Affiant
                                                 Attorney for Fuyan Wang




         SIGNED under oath before me on April         1 2- 2022.


                DAISY YAFLIN MOHADO
               Notary Public, State ot Toxa
               Comm. Expires 12-08-2025
                  Notary ID 133480650                       cState of Texas



                                                      Respectfully submitted,

                                                     THE BARROWS FIRM, P.C.
                                                     520 E. Southlake Blvd., Suite 140
                                                     Southlake, Texas 76092
                                                     Phone: 817-481-1583
                                                     Fax: 817-912-1380


                                                            4/ik J$J4WPM/
                                                        State Bar No. 240483 3
                                                        Email: Ibarrows1dharrowsrnii .COm
                                                       Danielle DeFranco
                                                       State Bar No. 24127415
                                                       Email: danielle(&barrowsflrm.com
                                                       Erin B. 1-lealey
                                                       State Bar No. 24041073
                                                       Email: crin(iEharrnwsfirm.com
                                                       Samantha Ybarra
                                                       State Bar No. 24104627
                                                       Email: sarnanthabarrnwsflrm.com
                                                       Attorneys for Fuyan Wang




Attorney’s Affidavit in Support olAttomey Fees                                              Page 3 of3
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Wang; (‘misc No. 325-707596-2!
                                               .
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                                                              CAUSE NO. 325-707596-21

              IN THE MATTER OF                                                             §                  IN THE DISTRICT COURT
              THEMARRIAGEOF                                                                §
                                                                                           §
              CONGHUA VAN                                                                  §                  325T11
              AND                                                                          §                           JUDECIAL DISTRICT
              FUYAN WANG,                                                                  §
                                                                                           §
              AND IN THE INTEREST OF                                                       §
              SHIMENG VAN, A CHILD                                                         §                 TARRANT COUNTY, TEXAS



                                                    SUMMARY OF ATTORNEY’S FEES


                     Fnyan Wang, “Respondent’ and Movant herein, and presents the following summary’ of
             attorney’s fees and costs:


   Date      Invoice #       Expenses       Atlontey at       Attorney at       Attorney at    Attorney at    Paralegal at       Paralegal      Totals
                                            5300.00 p/h   ,   5200.00 p/h       $250.00 p/h    5150.00 p/h    5175.00 p/h        at 125.00
                                                                                                                                    p/h
11/02/2021    60959            $0             $400.00              $0               SO             $0              $0                $0         $100.00
11/09/2021    60975          $561.10         $1,800.00          $400.00             50           $37.50        $1,006.25             50        $3804.95
12/01/2021    61087          $10.00           $300.00           $800.00             SO             $0           $306.23              $0        $1,416.25
1210912021    61099          5370.60         $1,600.00          $500.00             $0             $0              SO             $125.00      $2,595.60
01/10/2022    61197      1     $0                SO            $1,250.00            SO             $0          51.31250           $562.50      53.12500
01/24/2022
03/02/2022
              61302      J   $10.00              SO             $375.00             SO             $0           $350.00           $156.25      $1,585.00
              61515          $30.00             SO              $450.00          $2012.50          $0          51.96875          52.41 1.25    57.03000
01/11/2022    61736           10.00     1     $300.00              SO            $437.50           $0           $656.25      I    $250.00      $1,653.75
01/12/2022    61737            SO       I       SO                 SO       I     $62.50           $0           $218.75      I    $156.25       $437.50
                                        I                                   I                                                I
             Subtotals       5991.70         $4400.00          $3775.00     I    $2512.50        $37.50        $5818.75          $3661.25
                                                                            I                                                                   Total      $22,048.05

                                              Total Attorney Time                                     $10,725.00
                                              Total Paralegni Time                                     $9,480.00
                                                Total Expenses                                          $991.70




             Summary of Attorney’s Fees                                                                                                       Page 1 off
             Wang; Cause No. 325-707596-2 1
                                                                                     32 / 70
                                             .
             Case 4:23-cv-00758-P-BJ Document 41 Filed 09/01/23                                    S
                                                                                                   Page 33 of 70 PageID 551




                                                         BARROWS
                                                                    FIRM
                                                         ATTORNEYS         &       MEDIATORS




                                                         520 B Southiake Blvd., Suite 140
                                                               Southlake, TX 76092
                                                        Phone: 817-481-1563 817-481-1583
                                                              www. barrowsfi rm corn .


                                                                                                                                          Invoice 60959
                                                                                                                                       Dale: 11/02/2021


Mrs. Fuyan Wang
207 Meadowlark Ln
Southiake, TX 76092

In the Matter of the Marriage of Conghua Van and Fuyan Wang, and ITIO Shiming Yan, a Child:.Tarrant County Divorce Cause No. 325-707596-2111 LBISY/
TO Represent Wife Fuyan Wang


   Type          Date                                             Description                                             Quantity     Rate       Total

 Service     11/02/2021     Consultation. PNC speaks Mandarin and will come back tomorrow with a friend to                  1.00     $400.00     $400.00
                            translate.

                                                                                                                               Total             $400.00

                                                                                                          Payment (1110912021)                  -$400.00

                                                                                                                Balance Owing                      $0.00




Detailed Statement of Account

 Other Invoices
           invoice Number                    Due On                     Amount Due                    Payments Received                   Balance Due

61515                                      03/02/2022                               $7,030.00                             $4,530.00            $2,500.00


 Current Invoice
           Invoice Number                    Due On                    Amount Due                     Payments Received                   Balance Due

60959                                      11/02/2021                                    $400.00                           $400.00                 $0.00

                                                                                                          Outstanding Balance                  $2,500.00

                                                                                                               Amount In Trust                     $0.00

                                                                                                    Total Amount Outstanding                   $2,500.00
                                                                         33 / 70




                                                                    Page 1 of 2
                                                                                                               Invoice 60959- 11/02/2021
            Case 4:23-cv-00758-P-BJ Document 41 Filed 09/01/23                             Page 34 of 70 PageID 552
 103 Frost IOLTA Trust Account
     Date      Type       Description                             Matter                            Receipts    Payments       Balance

 1110212021           Payment for        Wang.Fuyan-ln the Matter of the Marriage of Conghua                       $400.00     $400.00
                      trust request:     Van and Fuyan Wang, and ITIO Shiming Yan, a
                      #60957             Child:.Tarrant County Divorce Cause No. 325-707596-211/
                                         LB/SV/TD Represent Wife Fuyan Wang

 11/03/2021           Retainer           Wang.Fuyan-In the Matter of the Marriage of Conghua                     $4,000.00    $4,400.00
                                         Yan and Fuyan Wang, and ITIC Shiming Yan, a
                                         Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                         LBISY[FD Represent Wife Fuyan Wang

 11/09/2021           Payment for        Wang.Fuyan-In the Matter of the Marriage of Conghua        $400.00                   $4,000.00
                      invoice #60959     Van and Fuyan Wang, and ITIO Shiming Yan, a
                                         Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                         LB/S V/TD Represent Wife Fuyan Wang

 11/09/2021           Payment for        Wang.Fuyan-ln the Matter of the Marriage of Conghua       $3,804.95                   $195.05
                      invoice #60975     Van and Fuyan Wang, and TIC Shiming Yan, a
                                         Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                         LB/S V/TD Represent Wife Fuyan Wang

 11/10/2021           Payment for        Wang.Fuyan-In the Matter of the Marriage of Conghua                     $2,000.00   $2,195.05
                      trust request:     Van and Fuyan Wang, and ITIO Shiming Van, a
                      #60977             Child:.Tarrant County Divorce Cause No. 325-707596-211/
                                         LB/SY/TD Represent Wife Fuyan Wang

 12/09/2021           Payment for        Wang.Fuyan-In the Matter of the Marriage of Conghua       $2,195.05                      $0.00
                      invoice #61099     Van and Fuyan Wang, and ITIO Shiming Van, a
                                         Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                         LB/S V/TD Represent Wife Fuyan Wang

 01/10/2022           CIio Payment       Wang.Fuyan-In the Matter of the Marriage of Conghua                     $2,500.00   $2,500.00
                      applied to trust   Van and Fuyan Wang, and ITIO Shiming Van, a
                      request #61198     Child:.Tarrant County Divorce Cause No. 325-707596-21/1
                      for Fuyan Wang     LB/SV/TD Represent Wife Fuyan Wang

 01/24/2022           Payment for        Wang.Fuyan-ln the Matter of the Marriage of Conghua       $1,585.00                   $915.00
                      invoice #61302     Van and Fuyan Wang, and ITIO Shiming Van, a
                                         Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                         LB/SY/TD Represent Wife Fuyan Wang

 03/02/2022           Payment for        Wang.Fuyan-In the Matter of the Marriage of Conghua        $915.00                       $0.00
                      invoice #61515     Van and Fuyan Wang, and ITIO Shiming Van, a
                                         Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                         LB/S V/TD Represent Wife Fuyan Wang

 03/21/2022   Cash    Paid in Cash in    Wang.Fuyan-ln the Matter of the Marriage of Conghua                       $800.00     $800.00
                      Office.            Van and Fuyan Wang, and lTIO Shiming Yan, a
                                         Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                         LB/S V/TD Represent Wife Fuyan Wang

 03/21/2022           Payment for bill   Wang.Fuyan-ln the Matter of the Marriage of Conghua        $800.00                       $0.00
                      #61515             Van and Fuyan Wang, and ITIO Shiming Van, a
                                         Child:.Tarrant County Divorce Cause No. 325-707596-211/
                                         LB/S V/TO Represent Wife Fuyan Wang

                                                                    103 Frost IOLTA Trust Account Balance            $0.00




Please make all amounts payable to: Barrows Firm, P.C.

Payment is due upon receipt.
                                                                     34 / 70




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                                           .
           Case 4:23-cv-00758-P-BJ Document 41 Filed 09/01/23                                     .Page 35 of 70 PageID 553




                                                         BARROWS
                                                                     FIRM
                                                         ATTORNEYS          &        MEDIATORS




                                                         520 E. Southiake Blvd., Suite 140
                                                               Southlake, TX 76092
                                                        Phone: 817-481-1583 817-481-1583
                                                              w. barrowsfi rm .com
                                                                                                                                           Invoice 60975
                                                                                                                                        Date: 11/09/2021


Mrs. Fuyan Wang
207 Meadowlark Ln
Sou:htake, TX 76092
In the Matter of the Marriage of Conghua Yan and Fuyan Wang, and 1110 Shiming Yan, a Child:.Tarrant County Divorce Cause No. 325-707596-21!I LBISY/
TD Represent Wife Fuyan Wang


   Type         Date                                                Description                                            Quantity     Rate     Total

 Service    11/03/2021    Second Consultation. Client retained. Substitution of Counsel signed and Employment                0.50     $400.00   $200.00
                          Agreement signed.

 Service    11/03/2021    Draft employment contract.                                                                         0.25       $0.00     $0.00

 Service    11/04/2021    Draft Motion for Substitution of Counsel and Order on Motion for Substitution of Counsel;          0.25     $175.00    $43.75
                          submit same for filing with court

 Service    11/04/2021    Open new client file and update pleadings and pleadings index.                                     0.25       $0.00     $0.00

 Service    11/05/2021    Drafted Motion for Continuance; Order for Continuance; and Counterpetition for Divorce;            3.00     $175.00   $525.00
                          submitted Counterpetition for filing at court; drafted Notice of Hearing and submitted to
                          court coordinator

 Service    11/08/2021    Temporary Orders preparation, including typing Financial Income Statement, and                     1.50     $175.00   $262.50
                          drafting Summary of Requested Relief. Transmit our exhibits to Court and opposing
                          counsel. Email to client encli




 Service    11/08/2021    Complete and transmit request for records to Southlake Police Department.                          0.25     $200.00    $50.00

 Service    11/08/2021    Conference with Paralegal Bell re upcoming hearing.                                                0.25       $0.00     $0.00

 Service    11/08/2021    Draft Responses to Initial Disclosures and sent email to client                                    1.00     $175.00   $175.00


 Service    11/08/2021    Prepare exhibits for upcoming temporary orders hearing.                                            1.75     $200.00   $350.00

 Service    11/08/2021    Travel to/from Temporary Orders hearing. Meet with client and mandarin translator.                 2.00 $400.00       $800.00
                          Case continued until tomorrow, Interim order entered by AJ, Telephone conferences
                          with translator. Conference with client. Conference with paralegal Bell re exhibits for trial.
                          Conference with attorney Ybarra. Review exhibits and videos offered by husband.

 Service    11/08/2021    Travel to/from Tarrant County Courthouse with Attorney Barrows to attend temporary                 2.00       $0.00     $0.00
                          orders hearing.
                                                                           35 / 70




                                                                     Page 1 of 3
                                                                                                                              Invoice 60975- 11/09/2021
            Case 4:23-cv-00758-P-BJ Document 41 Filed 09/01/23                                      Page 36 of 70 PageID 554
Expense      11/08/2021        Parking: Parking fee for Tarrant County Courthouse.                                             1.00       $7.00       $7.00

Service      11/09/2021        Meeting with client re                                                                          1.00   $400.00       $400.00


Service      11/09/2021        Conference with attorney Barrows. Review income and calculate child support prior to            0.25   $150.00        $37.50
                               hearing.

Service      11/09/2021        Continuation of Temporary Orders Hearing. Draft AJ ruling and husband to remain in              100    $400.00       $400.00
                               hotel until judge send her ruling. Meeting with client and interpreter at courthouse.

Expense      11/09/2021        Reimbursable expenses: Parking                                                                  1.00       $7.00       $7.00
Expense      11/09/2021        Reimbursable expenses: Pay Translator                                                           1.00   $547.20       $547.20

                                                                                                                                 Total            $3,804.95

                                                                                                             Payment (11/09/2021)              -$3,804.95

                                                                                                                   Balance Owing                      $0.00




Detailed Statement of Account

Other Invoices
          Invoice Number                         Due On                    Amount Duo                    Payments Received                   Balance Duo

61515                                         03/02/2022                              $7030.00                               $4,530.00            $2,500.00


Current Invoice

          Invoice Nwnber                         Due On                    Amount Due                    Payments Received                  Balance Due

60975                                         11/09/2021                              S3,804.95                              $3,804.95                $0.00

                                                                                                             Outstanding Balance                  $2,500.00

                                                                                                                  Amount in Trust                     $0.00

                                                                                                       Total Amount Outstanding                   $2,500.00




103 Frost IOLTA Trust Account
   Date         Type           DescripLion                               Matter                              Receipts          Payments            Balance

11/02/2021                 Payment for         Wang.Fuyan-ln the Matter of the Marriage of Conghua                                $400.00          $400.00
                           trust request:      Van and Fuyan Wang, and ITIO Shiming Van, a
                           #60957              Child:.Tarrant County Divorce Cause No. 325-707596-21//
                                               LB/S V/TD Represent Wife Fuyan Wang

11/03/2021                 Retainer            Wang.Fuyan-ln the Matter of the Marriage of Conghua                              $4,000.00         $4,400.00
                                               Van and Fuyan Wang, and ITIO Shiming Van, a
                                               Child:.Tarrant County Divorce Cause No. 325-707596-21//
                                               LB/SV/TD Represent Wife Fuyan Wang

11/09/2021                 Payment for        Wang.Fuyan-ln the Matter of the Marriage of Conghua             $400.00                             $4,000.00
                           invoice #60959     Van and Fuyan Wang, and ITIO Shiming Van, a
                                              Child:.Tarrant County Divorce Cause No. 325-707596-21//
                                              LB/SV/TD Represent Wife Fuyan Wang
                                                                            36 / 70




                                                                       Page 2 of 3
                                                                                                               Invoice 60975- 11/09/2021
           Case 4:23-cv-00758-P-BJ Document 41 Filed 09/01/23                              Page 37 of 70 PageID 555
  11/09/2021          Payment for        Wang.Fuyan-In the Matter of the Marriage of Conghua       $3,804.95                   $195.05
                      invoice #60975     Van and Fuyan Wang, and ITIO Shiming Van, a
                                         Child:.Tarrant County Divorce Cause No. 325-707596-21/!
                                         LB/S V/TO Represent Wife Fuyan Wang
  11/10/2021          Payment for        Wang.Fuyan-ln the Matter of the Marriage of Conghua                     $2,000.00   52195.05
                      trust request:     Van and Fuyan Wang. and ITIO Shiming Van, a
                      #60977             Child:.Tarrant County Divorce Cause No. 325-707596-21/!
                                         LB/SV/TD Represent Wife Fuyan Wang

  12/09/2021          Payment for        Wang.Fuyan-ln the Matter of the Marriage of Conghua       $2,195.05                      $0.00
                      invoice #61099     Van and Fuyan Wang, and ITIO Shiming Van, a
                                         Child:.Tarrant County Divorce Cause No. 325-707596-21/!
                                         LB/SV/TD Represent Wile Fuyan Wang
 01/10/2022           Clio Payment       Wang.Fuyan-ln the Matter of the Marriage of Conghua                     $2,500.00   $2,500.00
                      applied to trust   Van and Fuyan Wang, and ITIO Shiming Van, a
                      request #61198     Child:.Tarrant County Divorce Cause No. 325-707596-21/!
                      for Fuyan Wang     LB/SV/TD Represent Wife Fuyan Wang

 01/24/2022           Payment for        Wang.Fuyan-ln the Matter of the Marriage of Conghua       $1,585.00                   $91 5.00
                      invoice #61302     Van and Fuyan Wang, and Tb Shiming Van, a
                                         Child:.Tarrant County Divorce Cause No, 325-707596-21/!
                                         LB/S V/TO Represent Wife Fuyan Wang

 03/02/2022           Payment for        Wang.Fuyan-bn the Matter of the Marriage of Conghua        $915.00                      $0.00
                      invoice #61515     Van and Fuyan Wang, and ITbO Shiming Van, a
                                         Child:.Tarrant County Divorce Cause No. 325-707596-21/!
                                         LB/SV/TD Represent Wire Fuyan Wang

 03/21/2022    Cash   Paid in Cash in    Wang.Fuyan-bn the Matter of the Marriage of Conghua                      $800.00      $800.00
                      Office.            Van and Fuyan Wang, and ITIO Shiming Van, a
                                         Child:.Tarrant County Divorce Cause No. 325-707596-21!!
                                         LB/S V/TD Represent Wife Fuyan Wang
 03/21/2022           Payment for bill   Wang.Fuyan-In the Matter of the Marriage of Conghua        $800.00                      S0.00
                      #61515             Van and Fuyan Wang. and ITIO Shiming Van a
                                         Child:.Tarrant County Divorce Cause No. 325-707596-21/!
                                         LB/SV/TD Represent Wife Fuyan Wang

                                                                    103 Frost IOLTA Trust Account Balance            $0.00




Please make all amounts payable to; Barrows Firm, P.C.

Payment is due upon receipt.
                                                                     37 / 70




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                                              .
           Case 4:23-cv-00758-P-BJ Document 41 Filed 09/01/23                                    Page 38 of 70 PageID 556




                                                                BAR ROWS
                                                                        FIRM
                                                                ATTORNEYS & MEDIATORS




                                                             520 E. Southiake Blvd., Suite 140
                                                                   Southiake, TX 76092
                                                            Phone: 817-481-1583 817-481-1583
                                                                  VAWI.barrowsflrm.com
                                                                                                                                    Invoice 61087
                                                                                                                                 Date: 12/01/2021

Mrs Fuyan Wang
201 Meadowlari Ln
Southiake, TX 76092
In the Matter of the Marriage of Conghua Yan and Fuyan Wang, and mo Shiming Yan, a Child:.Tarrant County Divorce Cause No. 325-707696-21/I LB/SW
TD Represent Wife Fuyan Wang

   Type        Date                                                  Description                                     Qua, my     Ratt        Total
 ServIce   11/02/2021   Monthly Admin Fee       -   November.                                                          1.00     $10.00      $10.00
 Service   11/09/2021   Travel to/from Tarrant County Courthouse and attended temporary orders hearing with           3.00       $0.00       50.00
                        Attorney Barrows.

ServIce    11/10/2021   In erson meeting with client regarding                                                        0.25       50.00       $0.00

Service    11/10/2021   ReceIpt/Review of AJ Report. Print for client. Email to client. Calendar deadlines. Email     0.75     $400.00     $300.00
                        Family Court Services with our client’s contact information. Forward email from Family
                        Court Services to client for payment. Receipt of De Novo Appeal. Email to clIents


Service    11/15/2021   Emailed Inventory and Appraisement to client for completion: calendared and emailed           0.25     $175.00      $43.75
                        Notice of Hearing on opposing counsel’s De Novo Hearing

Service    11/16/2021   Reviewed initial disclosures with client: reviewed inventory and appraisement with client.    1.25     $200.00     $250.00
Service    11/16/2021   Initial draft of Initial disclosures.                                                         0.50     $200.00     $100.00
ServIce    11123/2021   Scan documents from client Into tile. Create dropbox for client. Rearrange and organize       1.50     $200.00     $300.00
                        documents. Review documents. Emailed client regarding


Service    11/3012021   Review documents brought by client. Scan in documents brought in by client. Organize          0.75     $200.00    $150.00
                        documents brought in by client. Draft Certificate of Written Discovery. Update dropbox for
                        Discovery.

Service    12101/2021   Redact Bank Statements and Billing statements for disclosures                                 1.50     $175.00    $262.50


                                                                                                                        Total            $1,416.25

                                                                                                        Payment (12106/2021)            -$1,416.25

                                                                                                              Balance Owing                 $0.00
                                                                            38 / 70




                                                                      Page 1 of 3
                                                                                                                               Invoice
             Case 4:23-cv-00758-P-BJ Document 41 Filed 09/01/23                                  Page 39 of 70 PageID61067-
                                                                                                                       557 1210112021
Credit Card Payment History
 Date                   Referents                           Note                                                                   Status            Amount
 12/06/2021                 BanK 0 ZK                        Linked payment for Fuyan Wang                                Completed             $1,416.25
                            Vtsa enuiriq in 2049

                                                                                                                   Total Payments               $1416.25




Detailed Statement of Account

 Other Invoices

           Invoke Number                           Due On                 Amount Due                     i’ayments Received                  Balance Due
 61515                                         03/02/2022                            $7,030.00                                $4,530.00         $2,500.00

 Current Invoice

           Invoice Number                          Due On                 Amount Due                     Payments Received                   Balance Due
61087                                          12/01/2021                            $1,416.25                               $1,416.25              $0.00
                                                                                                            Outstanding Balance                $2,500.00

                                                                                                                  Amount In Trust                   $0.00
                                                                                                    Total Amount Outstanding                   $2,500.00




103 Frost IOLTA Trust Account

    Date         Type          Description                              Matter                               Receipts           Payments         Balance
11/02/2021              Payment for            Wang.Fuyan-In the Matter of the Marriage of Conghua                                 $400.00       $400.00
                        trust request:         Yan and Fuyan Wang, and Tb Shiming Yan, a
                        #60957                 Child:.Tarrant County Divorce Cause No. 325-707596-21/1
                                               LB/SY/TD Represent Wife Fuyan Wang
11/03/2021              Retainer               Wang.Fuyan-ln the Matter of the Marriage of Conghua                               $4,000.00     $4,400.00
                                               Van and Fuyan Wang, and TIC Shiming Yan, a
                                               Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                               LB/SYFD Represent Wife Fuyan Wang
11/09/2021              Payment for           Wang.Fuyan-ln the Matter of the Marriage of Conghua            $400.00                           $4,000.00
                        invoice #60959        Van and Fuyan Wang, and TIC Shiming Van, a
                                              Child:.Tarrant County Divorce Cause No.325-707596-21/I
                                              LB/SY/TD Represent Wife Fuyan Wang
11/09/2021              Payment for           Wang.Fuyan-ln the Matter of the Marriage of Conghua          $3,804.95                             $195.05
                        invoice #60975        Van and Fuyan Wang, and ITID Shiming Van. a
                                              Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                              LB/SV/TD Represent Wife Fuyan Wang
11/10/2021              Payment for           Wang.Fuyan-ln the Matter of the Marriage of Conghua                               $2,000.00     52,195.05
                        trust request:        Van and Fuyan Wang, and ITIO Shiming Yan, a
                        #60977                Child:.Tarrant County Divorce Cause No. 325-707596-21/1
                                              LB/SY/TD Represent Wife Fuyan Wang
12/09/2021              Payment for           WangFuyan-tn the Matter of the Marriage of Conghua           $2,195.05                               $0.00
                        invoice #61099        Yan and Fuyan Wang, and TIC Shiming Van, a
                                                                           39 / 70




                                                                      Page 2 of 3
                                                                                                          Invoice 61087- 12/01/2021
          Case 4:23-cv-00758-P-BJ Document 41 Filed 09/01/23                               Page 40 of 70 PageID     558
                                         Child:.Tarrant Counly Divorce Cause No. 325-707596-21/I
                                         LB/SVffD Represent Wife Fuyan Wang
 01/10/2022           CIio Payment       Wang.Fuyan-In the Matter of the Marriage of Conghua                    $2,500.00   $2,500.00
                      applied to trust   Van and Fuyan Wang, and Tb Shiming Van, a
                      request #61198     Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                      for Fuyan Wang     LBISY/TD Represent Wife Fuyan Wang
 01/24/2022           Payment for        Wang.Fuyan-In the Matter of the Marriage of Conghua       $1,585.00                 $915.00
                      invoice #61302     Van and Fuyan Wang. and lTtO Shining Van, a
                                         Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                         LB/S V/TD Represent Wife Fuyan Wang
 03/02/2022          Payment for         Wang.Fuyan-In the Matter of the Marriage of Conghua        $915.00                    $0.00
                     invoice #61515      Van and Fuyan Wang, and Tb Shiming Van, a
                                         Child:.Tarrant County Divorce Cause No. 325-707596-211/
                                         LB/SY/TD Represent Wife Fuyan Wang
 03/21/2022   Cash   Paid in Cash in     Wang.Fuyan-ln the Matter of the Marriage of Conghua                     $800.00     $800.00
                     Office.             Van and Fuyan Wang, and Tb Shiming Van, a
                                         Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                         LB/SVITD Represent Wife Fuyan Wang
 03/21/2022          Payment for bill    Wang.Fuyan-ln the Matter of the Marriage of Conghua        $800.00                    50.00
                     #61515              Van and Fuyan Wang, and ITIO Shiming Van, a
                                         Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                         LBISVIFD Represent Wife Fuyan Wang

                                                                    103 Frost IOLTA Trust Account Balance          $0.00




Please make all amounts payable to: Barrows Firm, P.C.

Payment is due upon receipt.
                                                                     40 / 70




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                                           .
           Case 4:23-cv-00758-P-BJ Document 41 Filed 09/01/23                                    .
                                                                                                Page 41 of 70 PageID 559




                                                         BARROWS
                                                                    FIRM
                                                        ATTORNEYS          &       MEDIATORS




                                                         520 E. Southlake Blvd., Suite 140
                                                               Southlake, TX 76092
                                                        Phone: 817-481-1583 817-481-1583
                                                              www. ba rrowsfirm. corn
                                                                                                                                        Invoice 61099
                                                                                                                                     Date: 12/09/2021

Mrs. Fuyan Warg
207 Meadowlark Ln
Southlake, TX 76092

In the Mailer of the Marriage of Conghua Yan and Fuyan Wang. and 1710 Shiming Yan, a Child:.Tarrant County Divorce Cause No. 325-707596-2W LB/SW
713 Represent Wife Fuyan Wang


   Type         Data                                             Description                                       Quantity        Rate        Total
 Service    12/01/2021    Monthly Adrnin Fee December.
                                              -
                                                                                                                     1.00      $10.00          $10.00
 Service    12/02/2021   Prep for conference with client. In office conference with client regarding                 1.25     $200.00         $250.00

 Service    12)06/2021   Client came in to discuss citation. Reviewed citation. Conference with Paralegal Dixon      0.50     $200.00         $100.00
                         and Attorney Barrows. Scanned citation and saved to file.

Service     12/06/2021   Draft letter of representation; Telephone conference with Southlake Municipal Court         0.50     $200.00         $100.00
                         and emailed letter of representation to Southlake Municipal Court. Conference with
                         attorney Barrows re the same.

Service     12/06/2021   Prepare exhibits for De Novo Hearing and updated pleadings and pleadings index.             1.00     $125.00        $125.00
Service     12)07/2021   Review exhibits for temporary orders. Edit order of bank statements. Scan and print        0.25      $200.00          $50.00
                         out copies of bank statements.

Expense     12107/2021   Reimbursable expenses: Parlcing                                                             1.00          $7.00        $7.00
Service     12/07/2021   Travel to/from Fort Worth for De Novo hearing with translator. Began de novo and           4.00      $400.00      $1,600.00
                         continued until February. Conference with opposing counsel re the same,

Expense     12/07/2021   Reimbursable expenses: Translator Services                                                  1.00     $353.60        $353.60
Service     12/07/2021   Assist in Contested Hearing.                                                               4.00        $0.00           $0.00
Service    12109/2021    Receipt/Review of translator services. Pay invoice.                                        0.25        $0.00          $0.00

                                                                                                                           Total           $2,595.60

                                                                                                       Payment (12/09/2021)                -$2,195.05

                                                                                                       Payment (12109/2021)                 -$400.55

                                                                                                               Balance Owing                   $0.00
                                                                         41 / 70




                                                                  Page 1 of 3
                                                                                                                                Invoice 61099- 12/09/2021
               Case 4:23-cv-00758-P-BJ Document 41 Filed 09/01/23                                  Page 42 of 70 PageID 560
Credit Card Payment History
Date                       Reference                          Note                                                                 Status            Amount

12/0912021                 Fuyan Wang                         Linked payment for Fuyan Wang                                Completed               $400.55
                           Visa end’. ,in 4245

                                                                                                                     Total Payments                $400.55




Detailed Statement of Account

Other Invoices
              Invoice Number                       Due On                   Amount Due                     Payments ReceIved                  Balance Due

61515                                            03/02/2022                            $7,030.00                               $4530.00         $2,500.00


Current Invoice
              Invoice Number                       Due On                   Amount Due                     Payments Received                  Balance Due

61099                                            12/09/2021                            $2,595.60                               $2,595.60             $0.00

                                                                                                              Outstanding Balance               $2,500.00

                                                                                                                    Amount in Trust                  $0.00

                                                                                                       Total AmDunt Outstanding                 $2,500.00




103 Frost IOLTA Trust Account
       Date         Type           Description                            Mailer                               Receipts          Payments         Balance

11102/2021                     Payment for       Wang.Fuyan-In the Matter of the Marriage of Conghua                                $400.00       $400.00
                               trust request:    Van and Fuyan Wang. and ITIO Shiming Yan, a
                               #60957            Child:.Tarrant County Divorce Cause No. 325-707596-211/
                                                 LB/SY/TD Represent Wife Fuyan Wang

11/03/2021                     Retainer          Wang.Fuyan-ln the Matter of the Marriage of Conghua                              $4000.00      $4400.00
                                                 Yan and Fuyan Wang, and ITIO Shiming Van, a
                                                 Child:.Tauant County Divorce Cause No. 325-707596-21/1
                                                 LB/SYITD Represent Wife Fuyan Wang

11/09/2021                     Payment for       Wang.Fuyan-In the Matter of the Marriage of Conghua           $400.00                          $4,000.00
                               invoice #60959    Van and Fuyan Wang. and ITlO Shiming Van. a
                                                 Child:.Tarrant County Divorce Cause No. 325-707595-21/I
                                                 LB/S Y/TD Represent Wife Fuyan Wang

11/09/2021                     Payment for       Wang.Fuyan-ln the Matter of the Marriage of Conghua         $3,804.95                            $195.05
                               invoice #60975    Van and Fuyan Wang, and TIC Shiming Van, a
                                                 Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                                 LB/S V/TD Represent Wife Fuyan Wang

11/10/2021                 Payment for           Wang.Fuyan-ln the Matter of the Marriage of Conghua                              $2,000.00     $2,195.05
                           trust request:        Van and Fuyan Wang. and TIC Shiming Van, a
                           #60977                Child:.Tarrant County Divorce Cause No. 325-707596-2111
                                                 LB/SV/TD Represent Wife Fuyan Wang

12/09/2021                 Payment for           Wang.Fuyan-ln the Matter of the Marriage of Conghua         $2,195.05                               $0.00
                           invoice #61099        Van and Fuyan Wang, and ITIO Shiming Van, a
                                                                             42 / 70




                                                                        Page 2 of 3
                                                                                                              Invoice 61099- 12/09/2021
          Case 4:23-cv-00758-P-BJ Document 41 Filed 09/01/23                              Page 43 of 70 PageID 561
                                        Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                        LB/SY/TD Represent Wife Fuyan Wang

 01/10/2022          CIio Payment       Wang.Fuyan-ln the Matter of the Marriage of Conghua                     $2500.00    $2,500.00
                     applied to trust   Van and Fuyan Wang, and ITIC Shiming Van, a
                     request #61198     Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                     for Fuyan Wang     LB/SYIrD Represent Wife Fuyan Wang

 01/24/2022          Payment for        Wang.Fuyan-ln the Matter of the Marriage of Conghua       $1,585.00                   $915.00
                     invoice #61302     Van and Fuyan Wang, and ITIO Shiming Yan, a
                                        Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                        LB/SY/TD Represent Wife Fuyan Wang

 03/02/2022          Payment for        Wang.Fuyan-In the Matter of the Marriage of Conghua        $915.00                       $0.00
                     invoice #61515     Van and Fuyan Wang, and ITIO Shiming Van, a
                                        Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                        LB/SY/TD Represent Wife Fuyan Wang

 03/21/2022   Cash   Paid in Cash in    Wang.Fuyan-tn the Matter of the Marriage of Conghua                       $800.00     $800.00
                     Office.            Van and Fuyan Wang, and ITIO Shiming Van, a
                                        Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                        LB/SYIID Represent Wife Fuyan Wang

 03/21/2022          Payment for bill   Wang.Fuyan-ln the Matter of the Maniage of Conghua         $800.00                       $0.00
                     #61515             Van and Fuyan Wang, and ITIO Shiming Van, a
                                        Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                        LB/SY/TD Represent Wife Fuyan Wang

                                                                   103 Frost IOLTA Trust Account Balance            $0.00




Please make all amounts payable to: Barrows Firm, P.C.

Payment is due upon receipi
                                                                    43 / 70




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                                            .
           Case 4:23-cv-00758-P-BJ Document 41 Filed 09/01/23                                        .
                                                                                                    Page 44 of 70 PageID 562




                                                           BARROWS
                                                                    FIRM
                                                           ATTORNEYS &             MEDIATORS




                                                        520 E. Southiake Blvd.. Suite 140
                                                              Southlake, TX 76092
                                                       Phone: 817-481-1583 817-481-1583
                                                             www.barrowsflrm.com
                                                                                                                                          Invoice 61197
                                                                                                                                       Date: 01/10/2022


Mrs Fuyan Wang
207 Meadowiail Ln
Sajthbke, TX 76092

In the Matter of the Marriage of Conghua Yan and Fuyan Wang. and ma Shiming Yen, a Child:.Tarnnt County Divorce Cause No. 325-707596-2111 LB/SW
TO Represent Wife Fuyan Wang

  Type        Date                                                Description                                              Quaitty     Rate      Total

 Service   1210212021   Updated pleadings for De Novo Hearing                                                                0.25      50.00     $0.00
 Service   12/15/2021   Received email from city of southlake concerning assault case. Arranged date for                     0.25    $200.00    $50.00
                        hearing.

 Service   12116/2021   Received email from City of Southlake with police footage. Downloaded footage and                    0.50    5200.00   $100.00
                        saved to clients file.

 ServIce   12117/2021   Drive to and from city of southlake police dept. Retrieved footage referring to citation.           0,75     $200.00   $150.00
 ServIce   12120/2021   Conference with Paralegal Dixon. Called opposing counsel regarding possession and                   0.50     5200.00   $100.00
                        access of chld.

ServIce    12121/2021   Draft Request for Production and Request for Interrogatories to Respondent:                          1.50    517500    $262.50
Service    12/21/2021   Review all drafts for discovery.                                                                    0.75     $200.00   5150.00
service    12121/2021   Conference with paralegals Dixon and Moore on Inventory and Appraisement. Reviewed                   1.50    $200.00   5300.00
                        and edited same. Discussed next steps for inventory and appraIsement.

ServIce    12121/2021   Conference with Attorney Ybarra and Paralegal Dixon on inventory and AppraIsement.                   1.50    $125.00   $187.50
                        Reviewed and edited same. Discussed next steps for Inventory and appraisement.

Service    12)21/2021   Conference with Attomey Ybana and Paralegal Moore on Inventory and Appraisement.                     1.50    $175.00   $262.50
                        Reviewed and edIted same. Discussed next steps for inventory and appraisement.

Service    12/27/2021   E-serve CC with Discovery Request: Review e-mail from CC respond to same.                           0.50     $175.00    $87.50
ServIce    12128/2021   Meet with Client and Paralegal Macre re I & A                                                        1.50    5175.00   5262.50

Service    12/28/2021   Meet with Client and Paralegal Dixon re I & A.                                                       1.50    $125.00   $187.50
Service    12)28/2021   Called client, regarding                                          .   no answer, left voicemaiL.    0.25       $0.00     $0.00

Service    12)28/2021   Drafted Client’s I&A.                                                                               1.50     $125.00   $187.50
ServIce    12/29/2021   Review and Finalize I&A e-serve to OC                                                               1.00     $175.00   $175.00
                                                                         44 / 70




                                                                   Page 1 of 3
                                                                                                                                 Invoice 61197-01/10/2022
                Case 4:23-cv-00758-P-BJ Document 41 Filed 09/01/23                                      Page 45 of 70 PageID 563
Service        01/06/2022                           with              send to client; Begin Drafting Response to                  1.50   $175.00     $262.50
                                 Request for Production and Response to Request o Interrogatories

Service        01/07/2022        Called caseworker to discuss findings. No answer, left voicemail.                                0.25   $200.00      $50.00

Service        01/07/2022        Called caseworker once again to discuss findings. No answer, Left voicemail. Sent email          0.25   $200.00      $50.00
                                 to caseworker in order to schedule a time to speak.

Service        01/10/2022        Call with caseworker regarding status of case.                                                   0.50   $20000      $100.00

Service        01/10/2022        Conference with Attorney Barrows; Conference with legal assistant Morado; reviewed               0.75   $200.00     $150.00
                                 southlake PD videos with legal assistant Morado; sent caseworker documents regarding
                                 case.

Service        01/10/2022        Received dropbox link from legal assistant Morado; Sent same to caseworker.                      0.25   $200.00      $50.00

                                                                                                                                    Total          $3,125.00

                                                                                                               Payment (01/11/2022)               -$3,125.00

                                                                                                                      Balance Owing                    $0.00




Credit Card Payment History
Date                       Reference                            Note                                                                 Status            Amount
                                                a
01/11/2022                 Fuyanwang                             Linked payment for Fuyan Wang                              Completed              $3,125.00
                           Visa tnd             4245

                                                                                                                      Total Payments               $3,125.00




Detailed Statement of Account

Other Invoices
              Invoke Number                            Due On                 Amount Due                    Payments Received                   Balance Due

61515                                              03/02)2022                               $7,030.00                           $4,530.00          52500.00


Current Invoice
              Invoice Number                           Due On                 Amount Due                    Payments Received                   Balance Due

61197                                              01110/2022                               $3,125.00                           $3,125.00              $0.00

                                                                                                               Outstanding Balance                 $2,500.00

                                                                                                                     Amount in Trust                   $0.00

                                                                                                          Total Amount Outstanding                 $2,500.00




103 Frost IOLTA Trust Account
       Date         Type          Description                                Matter                             Receipts          Payments          Balance

11/02/2021                     Payment for          Wang.Fuyan-ln the Matter of the Marriage of Conghua                               $400.00       $400.00
                                                                                  45 / 70




                                                                           Page 2 of 3
                                                                                                               Invoice 61197-01/10/2022
           Case 4:23-cv-00758-P-BJ Document 41 Filed 09/01/23                              Page 46 of 70 PageID 564
                      trust request:     Van and Fuyan Wang, and ITIO Shiming Van, a
                      #60957             Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                         LBISVffD Represent Wife Fuyan Wang

  11/03/2021          Retainer           Wang.Fuyan-In the Matter of the Marriage of Conghua                     $4000.00    $4,400.00
                                         Van and Fuyan Wang. and ITIO Shiming Van, a
                                         Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                         LBISYffD Represent Wife Fuyan Wang

  11/09/2021          Payment for        Wang.Fuyan-In the Matter of the Marriage of Conghua         $400.00                 $4,000.00
                      invoice #60959     Van and Fuyan Wang, and ITIO Shiming Van, a
                                         Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                         LB/SY/TD Represent Wife Fuyan Wang

  11/09/2021          Payment for        Wang.Fuyan-In the Matter of the Marriage of Conghua       $3,804.95                  $195.05
                      invoice #60975     Van and Fuyan Wang, and ITIG Shiming Van, a
                                         Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                         LBISY/TD Represent Wife Fuyan Wang

  11/10/2021          Payment for        Wang.Fuyan-In the Matter of the Marriage of Conghua                     $2,000.00   $2,195.05
                      trust request:     Van and Fuyan Wang, and ITIO Shiming Van. a
                      #60977             Child:.Tarmnt County Divorce Cause No. 325-707596-21/I
                                         LB/SVFTD Represent Wife Fuyan Wang

  12/09/2021          Payment for        Wang.Fuyan-In the Matter of the Marriage of Conghua       $2,195.05                     $0.00
                      invoice #61099     Van and Fuyan Wang. and ITIO Shiming Van, a
                                         Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                         LB/SY/TD Represent Wife Fuyan Wang

 01/10/2022           Ctio Payment       Wang.Fuyan-In the Matter of the Marriage of Conghua                     $2,500.00   $2,500.00
                      applied to trust   Van and Fuyan Wang, and ITID Shiming Yan, a
                      request #61198     Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                      for Fuyan Wang     LB/SYITD Represent Wife Fuyan Wang

 01/24/2022           Payment for        Wang.Fuyan-ln the Matter of the Marriage of Conghua       $1,585.00                  $915.00
                      invoice #61302     Van and Fuyan Wang, and TIC Shiming Van, a
                                         Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                         LB/SV/TD Represent Wife Fuyan Wang

 03/0212022           Payment for        Wang.Fuyan-In the Matter of the Marriage of Conghua        $915.00                     $0.00
                      invoice #61515     Van and Fuyan Wang. and TIC Shiming Van, a
                                         Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                         LB/SV/TD Represent Wife Fuyan Wang

 03/21/2022    Cash   Paid in Cash in    Wang.Fuyan-ln the Matter of the Marriage of Conghua                      $800.00     $800.00
                      Office.            Van and Fuyan Wang, and TIC Shiming Van, a
                                         Child:.Tarrant County Divorce Cause No, 325-707596-21/I
                                         LB/SVIrD Represent Wife Fuyan Wang

 03121/2022           Payment for bill   Wang.Fuyan-ln the Matter of the Marriage of Conghua        $800.00                     $0.00
                      #61515             Van and Fuyan Wang, and ITIO Shiming Van, a
                                         Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                         LB/SV/TD Represent Wife Fuyan Wang

                                                                    103 Frost IOLTA Trust Account Balance           $0.00




Please make all amounts payable to: Barrows Firm, P.C.

Payment is due upon receipt.
                                                                     46 / 70




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                                           .
           Case 4:23-cv-00758-P-BJ Document 41 Filed 09/01/23                                    .
                                                                                                 Page 47 of 70 PageID 565




                                                        BARROWS
                                                                    FIRM
                                                        ATTORNEYS        &        MEDIATORS




                                                        520 E. Southlake Blvd., Suite 140
                                                              Southlake, TX 76092
                                                       Phone: 817-481-1583 817-481-1583
                                                             w.barrowsfirm.com
                                                                                                                                      Invoice 61302
                                                                                                                                   Date: 01/24/2022


Mrs. Fuyan Wang
207 Meadowlark Ln
Southiake, TX 76092
In the Matter of the Marriage of Conghua Van and Fuyan Wang, and lTlO Shiming Van, a Child:.Tarrant County Divorce Cause No. 325-707596-2111 LB/SW
TD Represent Wife Fuyan Wang


   Type        Date                                               Oescdption                                           Quanthy    Rate      Total


 Service   01/0112022    Monthly Admin Fee January.
                                             -
                                                                                                                         1.00     $10.00    $10.00

 Service   01/11/2022    Email from and to caseworker regarding status of case. Email to client regarding                0.25    $200.00    $50.00

 Service   01/11/2022    Call with caseworker on case regarding status of case. Conference with Attorney Harrows         0.50    $200.00   $1 00.00
                         and paralegal Dixon.

 Service   01/13/2022    Received                    from client. Saved to file. Sent same to caseworker.                0.25    $200.00    $50.00

 Service   01/14/2022    Called Southiake Police Department requesting information for records department;               0.75    $200.00   $150.00
                         spoke to records department regarding subpoenas: drafted subpoena and business
                         record affidavit emailed same to records department for southlake police department.

 Service   01/18/2022    Received email from Southiake PD; responded to same.                                            0.25    $200.00    $50.00

 Service   01/18/2022    Received email from Southlake PD that documents are ready for pick up; responded to             0.25    $200.00    $50.00
                         same.

 Service   01/18/2022    Telephone call with Southlake municipal clerk regarding plea hearing.                           0.50    $125.00    $62.50

 Service   01/19/2022    E-mail to OC re; rescheduling De Novo Hearing; review response email from OC; E-mail            2.00    $175.00   $350.00
                         to court re: new dates; Draft Notice Of Hearing; e-mail to court; Receive Notice of hearing
                         from Court; Save to Court send to OC discuss case with Paralegal; email to translator re:
                         change of Hearing

 Service   01/19/2022    Conference with attorney Ybarra Regarding regarding municipal court docket for citation.        0.25    $125.00    $31.25

 Service   01/19/2022    Conference with Paralegal Moore regarding municipal court docket for citation.                  0.25    $200.00    $50.00

 Service   01/19/2022    Emailed Southlake municipal clerk regarding requesting a translator and resetting plea          0.25    $125.00    $31.25
                         hearing.

 Service   01/19/2022    Emailed Client regarding                                                                        0.25    $125.00    $31.25


 Service   01/19/2022    Telephone call with client regarding                                                            0.50    $125.00    $62.50

 Service   01/19/2022    Emailed caseworker new date for de novo hearing.                                                0.25    $200.00    $50.00
                                                                        47 / 70




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                                                                                                                               Invoice 61302- 01/24/2022
            Case 4:23-cv-00758-P-BJ Document 41 Filed 09/01/23                                       Page 48 of 70 PageID 566
Service     01/19/2022       Received and reviewed new admonishment hearing date from Municipal court; saved                    0.25    $200.00       $50.00
                             same to file.

Service     01/20/2022       Emailed Southlake municipal clerk regarding filling Motion to Dismiss for ciation.                 0.25    $12500        $31.25

Service     01/20/2022       Review motion and order to dismiss citation with Southlake municipal court.                        0.25    $200.00        $50.00

Service     01/20/2022        Drafted Motion to Dismiss and Order for Southlake municipal court and emailed to clerk.           0.75    $125.00        $93.75

Service     01/2012022       Telephone call with client regarding                                                               0.25    $125.00        $31.25


Service     01/20/2022        Drive to and from City of Southlake municipal court to pick up records requested via              0.75    $200.00      $150.00
                              subpoena.

Service     01/24/2022        Initial draft of notice of subpoena.                                                              0.25    $200.00        $50.00

                                                                                                                                   Total           $1,565.00

                                                                                                              Payment (01/24/2022)                -$1,585.00

                                                                                                                        Balance Owing                   $0.00




Detailed Statement of Account

Other Invoices
           Invoke Number                          Due On                    Amount Due                     Payments Received                     BaLance Due


61515                                          03/02/2022                              $7,030.00                               $4,530.00           $2,500.00


Current Invoice
           InvoIce Number                         Due On                    Amount Due                     Payments Received                     Balance Due

61302                                          01/24/2022                              $1,585.00                               $1,585.00                 $0.00

                                                                                                              Outstanding Balance                   $2,500.00

                                                                                                                      Amount in Trust                    $0.00

                                                                                                        Total Amount Outstanding                    $2,500.00




103 Frost IOLTA Trust Account
    Date         Type           DescrIption                               Matter                                  Receipts       Payments            Balance

11/02/2021                  Payment for         Wang.Fuyan-In the Matter of the Marriage of Conghua                                    $400.00        $400.00
                            trust request:      Van and Fuyan Wang, and ITID Shiming Van, a
                            #60957              Child:.Tarrant County Divorce Cause No. 325-707596-21//
                                                L8/SVffD Represent Wife Fuyan Wang

11/03/2021                  Retainer            Wang.Fuyan-In the Matter of the Marriage of Conghua                                $4,000.00        $4,400.00
                                                Van and Fuyan Wang, and TIC Shiming Van, a
                                                Child:.Iarrant County Divorce Cause No, 325-707596-21/1
                                                LB/S V/TD Represent Wife Fuyan Wang

11/09/2021                  Payment for          Wang.Fuyan-In the Matter of the Marriage of Conghua              $400.00                           $4,000.00
                            invoice #60959       Van and Fuyan Wang, and ITIO Shiming Van, a
                                                                             48 / 70




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                                         I
          Case 4:23-cv-00758-P-BJ Document 41 Filed 09/01/23
                                                                                                              Invoice 61302- 01/24/2022
                                                                                          Page 49 of 70 PageID 567
                                        Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                        LB/SVrrD Represent Wife Fuyan Wang

 11/09/2021          Payment for        Wang.Fuyan-In the Matter of the Marriage of Conghua       $3,804.95                   $195.05
                     invoice #60975     Van and Fuyan Wang, and ITIC Shiming Yan, a
                                        Child:.Tarrant County Divorce Cause No. 325-707596-21/?
                                        LB/S V/TD Represent Wife Fuyan Wang

 11/10/2021          Payment for        Wang.Fuyan-In the Matter of the Marriage of Conghua                     $2,000.00   $2,195.05
                     trust request:     Van and uyan Wang, and ITIO Shiming Van, a
                     #60977             Child:.Tarrant County Divorce Cause No. 325-707596-21/?
                                        LB/S V/TD Represent Wife Fuyan Wang

 12/09/2021          Payment for        Wang.Fuyan-In the Matter of the Marriage of Conghua       $2,195.05                      $0.00
                     invoice #61099     Van and Fuyan Wang, and ITIO Shiming Van, a
                                        Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                        LB/SYrrD Represent Wife Fuyan Wang

 01/10/2022          Clio Payment       Wang.Fuyan-ln the Matter of the Marriage of Conghua                     $2,500.00   $2,500.00
                     applied to trust   Van and Fuyan Wang, and ITIO Shiming Van, a
                     request #61198     Child:.Tarrant County Divorce Cause No. 325-707596-21/?
                     for Fuyan Wang     LB/SY/TD Represent Wife Fuyan Wang

 01/24/2022          Payment for        Wang.Fuyan-In the Matter of the Marriage of Conghua       $1,585.00                   $915.00
                     invoice #61302     Van and Fuyan Wang, and ITIO Shiming Van, a
                                        Child:.Tarant County Divorce Cause No. 325-707596-21/?
                                        LB/SY/TD Represent Wife Fuyan Wang

 03/02/2022          Payment for        Wang.Fuyan-ln the Matter of the Marriage of Conghua        $915.00                      $0.00
                     invoice #61515     Van and Fuyan Wang, and ITID Shiming Van, a
                                        Child:.Tarrant County Divorce Cause No. 325-707596-21/?
                                        LB/SY/TD Represent Wife Fuyan Wang

 03/21/2022   Cash   Paid in Cash in    Wang.Fuyan-In the Matter of the Marriage of Conghua                       $800.00     $800.00
                     Office.            Van and Fuyan Wang, and ITIO Shiming Yan, a
                                        Child:.Tarrant County Divorce Cause No. 325-707596-21/?
                                        LB/S VITD Represent Wife Fuyan Wang

 03/2112022          Payment for bill   Wang.Fuyan-In the Matter of the Marriage of Conghua        $800.00                      $0.00
                     #61515             Van and Fuyan Wang, and ITIO Shiming Van, a
                                        Child:.Tarrant County Divorce Cause No. 325-707596-21/?
                                        LB/SVITD Represent Wife Fuyan Wang

                                                                   103 Frost IOLTA Trust Account Balance            $0.00




Please make all amounts payable to: Barrows Firm, P.C.

Payment is due upon receipt.
                                                                    49 / 70




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                                           I
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                                                       BARROWS
                                                                    FIRM
                                                       ATTORNEYS        &         M!DIATORS




                                                       520 E. Southlake Blvd.. Suite 140
                                                             Southiake, TX 76092
                                                      Phone: 817-451-1583817-481-1583
                                                            w. barmwsfirm .com
                                                                                                                                   Invoice 61515
                                                                                                                                Date: 03102)2022


Mm FLJyan Wang
207 Meadowlaik Ln
Sa3thiake, TX 76892
In the Matter of the Marriage of Conghua Yan and Fuyan Wang, and mo Shiming Yan, a child:.Tarrant County Divorce Cause No. 25-707696-21// LB!SY/
TO Represent Wife Fuyan Wang

   iype        o.                                                  Dempton                                           Quatty     Rate      TotI

 Service   01/24/2022   Called and emailed opposing counsel regarding extention for discovery responses.               0.25   $125.00    $31.25

 Service   01/24/2022   Scan in documents from southlake police department.                                            0.25   $200.00    $50.00

 Service   01/24/2022   Reviewed rule 11 agreement regarding request for production and inspection and written         0.25   $200.00    $50.00
                        interogatodes.

 Service   01/24/2022   Conference with paralegal Dixon regarding subpoenas.                                           0.25   $200.00    $50.00

 Service   01/24/2022   Drafted Rule 11 agreement for discovery extention and sent to CC Pigg via email.               0.50   $125.00    $62.50

 Service   01/2412022   EmaHed opposing counsel regarding subpoenaed police records.                                   0.25   $125.00    $31.25

 Service   01/25/2022   Call with opposing counsel regarding police records.                                           0.25   $200.00    $50.00

 Service   0112512022   Met with client and translator to review                                                       2.00   $125.00   $250.00

 Service   01/25(2022   Receipt of signed Rule 11 agreement from CC. E-fiied Rule 11 agreement for discovery           0.25   $125.00    $31.25
                        extention. Saved file marked copy in clients file.

 Service   01/25/2022   Reviewed and saved subpoenaed police records to clients file. Created Drop Box link to         0.50   $125.00    $62.50
                        records for CC. Drafted letter to CC regarding police records. Emalied CC letter and Drop
                        Box link.

 Service   01/25/2022   Review Teller to opposing counsel concerning police record CDs                                 0.25   $200.00    $50.00

 Service   01/25/2022   Scanned and sent Police Reports to Samantha                                                    0.25     $0.00     50.00

 Service   01/2512022   E-serve Notice. Affidavit and records send to CC                                               0.50   $175.00    $87.50

 Service   01/26/2022   Discuss Discovery with paralegat Moore                                                         0.50   $175.00    $87.50

 Service   01)26/2022   Met with client                                           .                                    2,00   $125.00   $250.00

 Service   01/26/2022   Discuss Discovery with paralegat Dixon.                                                        0.50   $125.00    $62.50

 Service   01/26/2022   Conference with Paraiegal Moore. Called CPS worker regarding status of CPS case.               0.50   5200.00   $100.00
                                                                        50 / 70




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                                                                                                                       Invoice 61515- 03102)2022
          Case 4:23-cv-00758-P-BJ Document 41 Filed 09/01/23                                     Page 51 of 70 PageID 569
Service   01/2612022   Conference with Attorney Tharra regarding status of CPS case.                                   0.25    $125.00   $31.25

Service   01/27/2022   called city of southlake police department re update on dismissal. No answer, left              0.25    $200.00   $50.00
                       voicemail.

Service   01(27/2022   Telephone call with Camille Ross rehearing next week.                                           0.25    5200.00   $50.00

Service   01/28/2022   Downloaded pleadings. digital file. Printed and added to Physical file.                         0.50    $125.00   $62.50

Service   01(28/2022   Telephone call with client regarding                                                       .    0.25    $125.00   $31.25

Service   01/2812022   Sent client                                                                                     0.25      $0.00     $0.00

Service   01128/2022   Prepared USB drive for client re file for Southlake Citation.                                    0.25   $125.00    $31.25

Service   02/01/2022   Called client to                                                                                 0.25     $0.00     $0.00

Service   02/01/2022   Review and Copy records from client                                                              0.50   $175.00    $87.50

Service   02)01/2022   Attended hearing at municipal court with client: attended fingerprinting with client; scan in    2.00   $250.00   $500.00
                       documents and save to clients file.

Service   02/01/2022   Monthly Admin Fee Feb.
                                            -
                                                                                                                        1.00    $10.00    $10.00

Service   02/03(2022   Reviewed and scanned production documents from clIent.                                           0.50   5125.00    562.50

Service   02/03/2022   Conference with Paralegal Moore; begin to Review discovery                                       0.75   $175.00   $131.25

Service   02/04/2022   ContInued drafting client’s discovery.                                                           2.00   $125.00   $250.00

Service   02107/2022   Conference with Attorney Barrows and Paralegal Dixon; calendar response date to                  0.25   5250.00    $62.50
                       Petitioners original petition to adjudicate parentage.

Service   02/08/2022   Draft Respondents Original Answer Adjudicate Parentage; e-file with court
                                                                -                                                       1.00   $175.00   $175.00

Service   02/0812022   Review and edit Respondent’s Original Answer to Original Petition to Adjudicate                  0.50   $250.00   5125.00
                       Parentage.

Service   02/09/2022   revIew e-mail from opposing counsel; conference with attorney Barnows and Ybarra;                0.75   $175.00   $131.25
                       respond to Opposing counsels e-rnall

Service   02109/2022   Review email from opposing counsel; conference with Paralegat DIxon.                             0.50   $250.00   $125.00

Service   02/09/2022   Saved all production documents from opposing counsel to client’s file.                           0.50   $125.00    562.50

Service   02/0912022   Conference with Paralegal Dixon re motion for adjudication of parentage.                         0.50   $250.00   $125.00

Service   02/10/2022   RevIew Discovery with Paralegal Moore; discuss case with attorney Ybaua                          0.75   $175.00   $131.25

Service   02110/2022   Email to Tarrant County Family Court Services re rescheduling of de novo hearing.                0.25   $250.00    $62.50

Service   02110/2022   Review and revise respondent’s written interrogatories; conference with Paralegal Dixon.         1.00   $250.00   $250.00

Service   02/10(2022   Phone call with client regarding                                                                 0.25     $0.00     $0.00

Service   02)10/2022   Completed drafting client’s discovery. Redacted. and bates labelled supporting                   2.00   $125.00   $250.00
                       documents.

Service   02/10/2022   Received and saved Unopposed Motion for Continuance and Proposed Order to cllenVs                0.25   $125.00    $31.25
                       file.

Service   02/11/2022   Reviewed initial draft discovery; conference with Paralegal Moore and Parategal Dixon re         0.75   $250.00   $187.50
                       discovery: reviewed and revised final draft of discovery.

Service   02111(2022   Finalized Discovery and created DropBox link to production documents, E-Served to                0.50   $125.00    $62.50
                       opposing counsel discovery and emalled opposing counsel same.

Service   02/11/2022   In person meeting with client to notarize interrogatories and questions for attorney.            0.25   $125.00    $31.25

Service   02/14/2022   Review e-mail from opposing Counsel; Reply to E-mail                                             0,25   $175.00    $43.75

Service   02/15/2022   Receive Discovery request from CC; Save to file; Send                        client re:          1.75   $175.00   $306.25
                                                                        51 / 70




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          Case 4:23-cv-00758-P-BJ Document 41 Filed 09/01/23                                   .                      invoice 61515- 0310212022
                                                                                               Page 52 of 70 PageID 570



Service   02115/2022   Conference with Paralegal Dixon re discovery: review letter from CC re discovery.              0.50    $250.00      $125.00

Service   02)16/2022   Received signed Order on Continuance: save to file                                             0.25    $175.00       $43.75

ServIce   02116/2022   Adjudicate Parentage Case: Began drafting discovery responses.                                  1.00   $125.00      $125.00

Service   02/21/2022   Email correspondence and phone call with client regarding                                       0.50       $0.00       $0.00

Service   02i2212022   Review discovery: Meeting with client re:                                                       1.50   $175.00      5262.50

Service   02/22)2022   Meeting with client and translator regarding                                                    1.04   $125.00      $130.00

Service   02/2312022   Call with client regarding                                                                     0.25    $125.00       $31.25

Service   02/2512022   Email correspondence with client and In person meeting regarding                               0.50    $125.00       $62.50


Service   02/25/2022   Received                     from client, saved in rile.                                       0.25    $125.00       $3125

ServIce   02/25/2022   Drafted Respondent’s Response to Admission. Production and Inspection and                       1.25   $125.00      $156.25
                       interrogatories.

Service   02/28/2022   Scanned in and saved all              brought by client.                                        0.25   $125.00       $31.25

Service   02/28/2022   Begin Reviewing Wang DIscovery: Parentage Case                                                 0.75    $175.00      $131.25

Service   02)28/2022   Bates Numbered pictures brought in from client. Combines documents                              0.50   $125.00       $62.50

Service   03/01/2022   Draft Respondent’s Certificate Discovery                                                        0.25   $175.00       $43.75

Service   03/01/2022   Review and edit Response to tnterrogatodes Production and Admissions with Attorney
                                                                          .                                            1.75   $175.00      $306.25
                       DeFranco and Ybarra: e-Serve Discovery: e-file Certificate Of discovery

Service   03/01/2022   Called client to come in to the office to sign Response to Written Interrogatorles. Met with    0.50   $125.00       $62.50
                       client in office and assisted and notarized Response to Written Interrogatohes. Scanned
                       and saved in file.

Service   03/01)2022   Review and edit Response to Interrogatohes Production and Admissions with Attorney
                                                                          ,                                            1.30   $250.00      $325.00
                       DeFranco and Paraiegal Dixon

ServIce   03/01/2022   Review and edit Response to Interrogatohes. Production and Admissions with Attorney             1.30   $225.00      $292.50
                       Ybarra and Paralegal Dixon

Service   03/01)2022   Client provided Discover Statements from account ending in. Scanned and saved in                0.25   5125.00       $31.25
                       file.

Service   03/01/2022   Monthly Admin Fee March.
                                            -                                                                          1.00      $10.00     $10.00


                                                                                                                         Total            $7,030.00

                                                                                                        Payment (0310212022)               $915.00

                                                                                                        Payment (0310912022)          -$1,500.00

                                                                                                        Payment (03109/2022)               -$615.00

                                                                                                        Payment (0312112022)               -$800.00

                                                                                                        Payment (0411012022)               $700.00

                                                                                                               Balance Owing              $2,500.00
                                                                              52 / 70




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                                                                                                                               Invoice 61515-03/0212022
               Case 4:23-cv-00758-P-BJ Document 41 Filed 09/01/23                                  Page 53 of 70 PageID 571
Credit Card Payment History
                                                             Note                                                                  Status             Amount
Date                       Reference

03/09/2022                 Fuyanwang                         Linked payment for Fuyan Wang                                 Completed             $150000
                           Visa ending n 0511


03/09/2022                 Euyanwang                         Linked payment for Fuyan Wang                                 Completed               $615.00
                           Visa ending in 2049

04/1 012022                Euyanwang                         Linked payment for Fuyan Wang                                 Completed               $700.00
                           Visa ending in 4245
                                                                                                                     Total Payments              $2,815.00




Detailed Statement of Account

 Current Invoice
              invoke Number                       Due On                   Amount Due                      Payments Received                   Balance Due

61515                                           03/0212022                             $7,030.00                               $4,530.00         $2,500.00

                                                                                                              Outstanding Balance                 $2,500.00

                                                                                                                    Amount in Trust                   $0.00

                                                                                                     Total Amount Outstanding                     $2,500.00




 103 Frost IOLTA Trust Account
       Date         Type          Description                             Matter                                Receipts         Payments          Balance

 11102/2021                   Payment for        Wang.Fuyan-In the Matter of the Marriage of Conghua                                 $400.00        $400.00
                              trust request:     Van and Fuyan Wang, and Tb Shiming Yan, a
                              #60957             Chibd:.Tarrant County Divorce Cause No. 325-707596-211/
                                                 LB/SYrFD Represent Wife Fuyan Wang

 11/03/2021                   Retainer           Wang.Fuyan-ln the Matter of the Marriage of Conghua                               $4,000.00      $4,400.00
                                                 Van and Fuyan Wang, and Tb Shiming Van, a
                                                 Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                                 LB/svrrD Represent Wife Fuyan Wang

 11/09/2021                   Payment for        Wang.Fuyan-bn the Matter of the Marriage of Conghua            $400.00                           $4,000.00
                              invoice #60959     Van and Fuyan Wang, and lTIO Shiming Van, a
                                                 Child:.Tarrant County Divorce Cause No. 325-707596-21/1
                                                 LS/SV/TD Represent Wife Fuyan Wang

 11/09/2021                   Payment for        Wang.Fuyan-ln the Matter of the Marriage of Conghua          $3,804.95                             $195.05
                              invoice #60975     Yan and Fuyan Wang, and ITbO Shiming Van, a
                                                 Child:.Tarrant County Divorce Cause No. 325-707596-211/
                                                 LB/S vim Represent Wife Fuyan Wang

 11/10/2021                   Payment for        Wang.Fuyan-ln the Matter of the Marriage of Conghua                               $2,000.00      $2,195.05
                              trust request:     Yan and Fuyan Wang, and ITID Shiming Van, a
                              #60977             Child:.Tarranl County Divorce Cause No. 325-707596-21/I
                                                 LB/SV/TD Represent Wife Fuyan Wang

 12/09/2021                   Payment for        Wang.Fuyan-ln the Matter of the Marriage of Conghua          $2,195.05                                $0.00
                              invoice #61099     Van and Fuyan Wang, and ITbO Shiming Van, a
                                                 Child:.Tarranl County Divorce Cause No. 325-707596-21/I
                                                                             53 / 70




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                                                                                                         Invoice   61515- 03/02/2022
          Case 4:23-cv-00758-P-BJ Document 41 Filed 09/01/23                               Page 54 of 70 PageID  572
                                        LBISY/TD Represent Wife Fuyan Wang

 01/10/2022          Clio Payment       Wang.Fuyan-In the Matter of the Marriage of Conghua                    $2,500.00   $2,500.00
                     applied to trust   Van and Fuyan Wang, and 1110 Shiming Van, a
                     request #61198     Child:.Tarrant County Divorce Cause No. 325-707596-21//
                     for Fuyan Wang     LB/SY/TD Represent Wife Fuyan Wang

 01/24/2022          Payment for        Wang.Fuyan-In the Matter of the Marriage of Conghua        $1,585.00                $915.00
                     invoice #61302     Van and Fuyan Wang, and Tb Shiming Van, a
                                        Child:.Tarranl County Divorce Cause No, 325-707596-211/
                                        LB/SV/TD Represent Wife Fuyan Wang

 03/0212022          Payment for        Wang.Fuyan-In the Matter of the Marriage of Conghua         $915.00                    $0.00
                     invoice #61515     Van and Fuyan Wang, and ITIO Shiming Van, a
                                        Child:.Tarrant County Divorce Cause No. 325-707596-21 //
                                        LB/SV/TD Represent Wife Fuyan Wang

 03/21/2022   Cash   Paid in Cash in    Wang.Fuyan-ln the Matter of the Marriage of Conghua                     $800.00     $800.00
                     Office.            Van and Fuyan Wang, and ITIO Shiming Van, a
                                        Child:.Tarrant County Divorce Cause No. 325-707596-211/
                                        LB/S V/TD Represent Wife Fuyan Wang

 03/21/2022          Payment for bill   Wang.Fuyan-ln the Matter of the Marriage of Conghua         $800.00                    $0.00
                     #61515             Van and Fuyan Wang, and ITIO Shiming Van, a
                                        Child:.Tarrant County Divorce Cause No. 325-707596-211/
                                        LB/SV/TD Represent Wife Fuyan Wang

                                                                   103 Frost IOLTA Trust Account Balance           $0.00




Please make all amounts payable to: Barrows Firm, P.C.

Payment is due upon receipt.
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                                               .
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                                                                                                        Page 55 of 70 PageID 573




                                                             BAR ROWS
                                                                        FIRM
                                                             ATTORNEYS       &        MEDIATORS




                                                              520 E. Southiake Blvd.. Suite 140
                                                                    Southiake, TX 76092
                                                             Phone: 817-481-1583 817-481-1583
                                                                   w.,wbarrowsjirmcom
                                                                                                                                                   invoice 61737
                                                                                                                                                Date: 04/12)2022


Mrs Fuyan Wang
207 Meadowlark Ln
SoutNake. DC 76092
Adjudicate Parentage ONLY: In the Matter of the Marriage of Conghua Yan and Puyan Wang, and ff10 Shiming Yarn, a Child.: Tarrant County Divorce
Cause No. 325-707596•2111 LBISYrrD Represent Wife Fuyan Wan9

  Type           Date                                                 DeSwpton                                                     Quantity     Rate      Total

 Service     03/0812022      ADJ Review Subpoena to compel Production of Documents and Tangible things: save to                      0.25     5175.00    $43.75
                             file

 Service     03/23/2022      Draft Notice of Intention to Take Oral Deposition of Conghua Yen                                        1.00     5175.00   5175.00

 Service    03125/2022       In-Person Meetinq with client                                                                           0.25       50.00      50.00


 Service    03/25/2022       Conference with legal assistant Moore re                  dropped oft by client.                        0.25     $250.00    562.50

 Service    04/01/2022       Received. Scanned and Saved Daughter’s                                                                  0.50     5125.00    $62.50

 Service    04/11/2022       Began drafting Summary of Fees                                                                          0.25     $125.00    531.25

 Service    04)11(2022       Drafted Affidavit of Attorneys Fees                                                                     0.50     $125.00    562.50


                                                                                                                                       Total            $437.50




Detailed Statement of Account

 Current Invoice

           Invoice Nunthet                      Due On                     Amotmi Due                           Payment Received                   Balance Due

61737                                         04/12/2022                                5437.50                                        50.00            $437.50

                                                                                                                   Outstanding Balance                  $437.50

                                                                                                                        Amount in Trust                   $0.00

                                                                                                           Total Amount Outstanding                     $437.50
                                                                            55 / 70




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                                                                                                         Invoice 61737- 04/12/2022
           Case 4:23-cv-00758-P-BJ Document 41 Filed 09/01/23                              Page 56 of 70 PageID    574
 103 Frost IOLTA Trust Account
    Date       Type       Description                             Matter                            Receipts    Payments       Balance

 11/02/2021           Payment for        Wang.Fuyan-ln the Matter of the Marriage of Conghua                       $400.00     $400.00
                      trust request:     Van and Fuyan Wang, and ITIO Shining Van, a
                      #60957             Child:.Tarrant County Divorce Cause No. 325-707596-211/
                                         LB/SV/TD Represent Wife Fuyan Wang

 11/03/2021           Retainer           Wang.Fuyan-In the Matter of the Marriage of Conghua                     $4,000.00    $4,400.00
                                         Van and Fuyan Wang, and ITtO Shining Yan, a
                                         Chitd:.Tarrant County Divorce Cause No. 325-707596-21/I
                                         LB/SY/TD Represent Wife Fuyan Wang

 11/09/2021           Payment for        Wang.Fuyan-In the Matter of the Marriage of Conghua        $400.00                   $4,000.00
                      invoice #60959     Van and Fuyan Wang, and ITtO Shining Van, a
                                         Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                         LB/SY/TD Represent Wife Fuyan Wang

 11/09/2021           Payment for        Wang.Fuyan-In the Matter of the Marriage of Conghua       $3,804.95                   S195.05
                      invoice #60975     Van and Fuyan Wang, and ITtO Shining Van, a
                                         Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                         LB/SVD Represent Wife Fuyan Wang

 11/10/2021           Payment for        Wang.Fuyan-In the Matter of the Marriage of Conghua                     S2.000.00    52.1 95.05
                      trust request:     Van and Fuyan Wang, and ITtO Shining Van, a
                      #60977             Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                         LBISY1D Represent Wife Fuyan Wang

 12/09/2021           Payment for        Wang.Fuyan-In the Matter of the Marriage of Conghua       $2.1 95.05                     $0.00
                      invoice #61099     Van and Fuyan Wang, and Tb Shining Yan, a
                                         Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                         LB/SV/TD Represent Wife Fuyan Wang

 01/10/2022           CIio Payment       Wang.Fuyan-tn the Matter of the Marriage of Conghua                     $2,500.00    $2,500.00
                      applied to trust   Van and Fuyan Wang, and ITIO Shining Van, a
                      request #61198     Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                      for Fuyan Wang     LB/SV/TD Represent Wife Fuyan Wang

 01/24/2022           Payment for        Wang.Fuyan-In the Matter of the Marriage of Conghua       $1,585.00                   $915.00
                      invoice #61302     Van and Fuyan Wang, and ITIO Shiming Yan, a
                                         Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                         LB/SV/TO Represent Wife Fuyan Wang

 03/02/2022           Payment for        Wang.Fuyan-ln the Matter of the Marriage of Conghua        $915.00                       $0.00
                      invoice #61515     Van and Fuyan Wang, and TIC Shiming Van, a
                                         Child:.Tarrant County Divorce Cause No. 325-707596-21/I
                                         LB/S V/TD Represent Wife Fuyan Wang

 03/21/2022   Cash    Paid in Cash in    Wang.Fuyan-ln the Matter of the Marriage of Conghua                       $800.00     5800.00
                      Office.            Van and Fuyan Wang, and TIC Shiming Van, a
                                         Child:.Tarrant County Divorce Cause No. 325-707596-211/
                                         LB/SY/TD Represent Wife Fuyan Wang

 03/21/2022           Payment for bill   Wang.Fuyan-ln the Matter of the Marriage of Conghua        $80000                        $0.00
                      #61515             Van and Fuyan Wang, and TIC Shiming Van, a
                                         Child:.Tarrant County Divorce Cause No. 325-707596-21/f
                                         LB/SV/TD Represent Wife Fuyan Wang

                                                                    103 Frost IOLTA Trust Account Balance             $0.00




Please make all amounts payable to: Barrows Firm, P.C.

Payment is due upon receipt.
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                                           ASSOCIATE JUDGE’S REPORT
                                                                                    & —2(
             J                 6
                                 van   Cause No. 325-J775

                                                                                         IN TI-fE 3Z$ nismier COURT
                                                                                                                                                    -




    St      L4 O-*J
                                                                                                             C
                                                                                         TARRANT COUNTY, ThA2:                           z
                                                                                                                                         —v         ;rj

I. 4PPEARANCES:
                                          U                                                                                      -   -
                                                                                                                                         ZO

   (MOVANT IN PERSON & BY ATTORNEY

    (‘>c*ESPONDENT IN PERSON & BY ATTORNEY
                                                                                                                                                    nfl
                                                                                                                                                    Zr


                                                                                                                                                     C
        AMTCUS ATTORNEY                                                                                                                   to         =
         DOMESTIC RELATIONS OFFICE                                                                                                        —

                                                                                                                                     m
        ATTORNEY GENERAL                                                                                                             —
        FAMILY COURT SERVICES

2. ORDERS OR AGREEMENT:

            Mv L1 kMtd                h. /ictS 1/OO1coo.tO
 Ia         J Vc11,cfrncat axLeLctnt get 11.-S.
           Mv.           W0 is ovde-tccc hi                                                      ‘/%dra.oi
   bowo w sô. ooo J rn-n Áà raQren ad
Y       43         fliLth,            cs         jawed.                             E2zcL g1b-nar
thtlonl-cd                   scoo.aa                           s.                           1t1, 6ftn
n4fnsthk %- a



           A
500         E ED                                                                   APPROVED AND IT IS SO ORDERED


ASSOC        ‘FE JUDGE                                                             PRESIDING JUDGE
DATE:                                                                              DATE:

This recommendation/reportis a standing orderof the Court and will not be considered a final, appealable order until a typed orderis signed bythe
District Judge. Failure to submit a typed order pursuant to this recommendation/report subjects this matterto being placed on thecouWs DWOP
docket. Counsel,                                              Is ORDEREDto submitthe typewrittenordertotheCcurt noiaterthan the          __dayof
                                    20

                                                        Page                  oT_____
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                                 CAUSE NO. 325-707596-21

IN THE MATTER OF                               §               IN THE DISTRICT COURT
THE MARRIAGE OF                                §
                                               §
CONGHUAYAN                                     §               325th JUDICIAL DISTRICT
AND                                            §
FUYAN WANG                                     §
                                               §
AND IN THE INTEREST OF                         §
SHIMING YAN, A CHILD                           §            TARRANT COUNTY, TEXAS


         ORDER FOR GARNISHMENT OF U.S. BANK 401 (K) SAVINGS PLAN



       On April 13, 2022, the Court heard Respondent’s request for Spousal Support inter alia.

       WHEREAS, this Court has jurisdiction over all parties and over the subject matter of
spousal support in this case.

       WHEREAS this Court intends this order to be a Domestic Relations Order.

       WHEREAS this order is being using to collect amounts owed as spousal support.

       WHEREAS by order of this court, Participant, Conghua Yan, was ordered/required to
pay spousal support to Fuyan Wang, which is currently is in the balance of $25,000.00.

IT IS HEREBY ORDERED by the Court as follows:

DEFINITIONS:

“PARTICIPANT”:

• Conghua Yan
• Social Security Ending 8618
• Address: 207 Meadowlark Lane, Southlake, Texas 76092
• Phone: (214) 228-1886


“ALTERNATE PAYEE (SPOUSE)”:
• Fuyan Wang
• Social Security Ending 7562
• Address: 207 Meadowlark Lane, Southiake, Texas 76092


ORDER FOR GARNISHMENT OF U.S. BANK 401 (K) SAVINGS PLAN                             Page 1 of 3
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• Phone: (682) 408-2808

“Plan”:
• U.S. Bank 401 (k) Savings Plan

“Plan Administrator”:
• U.S. Bank 401(k) Savings Plan
• U.S. Bank
  Attn: Garnishment Department
  800 Nicollet Mall
  Minneapolis, MN 554024302

COLLECTION OFSPOUSAL SUPPORT

       IT IS ORDERED that the retirement account at U.S. Bank pay to Fuyan Wang,
S25,000.00 from the U-S. Bank 401 (k) Savings Plan of Conghua Yan to satisfy this obligation.

       IT IS FURTHER ORDERED that the payment shall be made payable to Fuyan Wang
       do The Barrows Firm P.C.,
       520 E. Southlake Blvd. Suite 140,
       Southlake, Texas 76092

LIMITA lYONS ON ORDER

        THE COURT FINDS that nothing contained in this Order shall be construed to require
the Plan to provide for any type or form of benefits, or any option, not otherwise provided under
the Plan to the Alternate Payee.



       SIGNED on



                                            PRESIDING JUDGE




ORDER FOR GARNISHMENT OF U.S. BANK 401 (K) SAVINGS PLAN                              Page 2 of 3
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THE BARROWS FIRM. P.C.
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Phone: 817-481-1583
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Samantha Ybarra
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Email: samantha@barrowsfirm.com
Attorney’s for Fuyan Wang



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wapiggpigglawflrm.com
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Fax (214) 602-8832
Attorney for CONGHUA YAN




ORDER FOR GARNISHMENT OF U.S. BANK 401 (K) SAVINGS PLAN           Page 3 of 3
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